            CaseApplication
   AO 106A (08/18) 2:21-mj-05241-DUTY                  Document
                            for a Warrant by Telephone or                1 Filed
                                                          Other Reliable Electronic    11/16/21
                                                                                    Means          Page 1 of 36 Page ID #:1


                                        UNITED STATES DISTRICT COURT
                                                                    for the
                                                        Central District
                                                     __________  Districtofof
                                                                            California
                                                                              __________

                     In the Matter of the Search of                     )
       615 S. Kenmore Ave., Apartment 104, Los Angeles,                 )
                                                                        )        Case No. 2:21-MJ-05241
       CA 90005, as described more fully in Attachment
       A-2                                                              )
                                                                        )
                                                                        )

       APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
           I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
   penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
   property to be searched and give its location):

         See Attachment A-2
   located in the Central District of California, there is now concealed (identify the person or describe the property to be seized):
         See Attachment B
             The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                      evidence of a crime;
                      contraband, fruits of crime, or other items illegally possessed;
                      property designed for use, intended for use, or used in committing a crime;
                      a person to be arrested or a person who is unlawfully restrained.
             The search is related to a violation of:
               Code Section                                                         Offense Description
          18 U.S.C. § 922(g)                                           Felon in Possession of a Firearm(s)/Ammunition
                                                                       Possession of a Firearm in Furtherance of a Drug
          18 U.S.C. § 924(c)                                           Trafficking Crime or Crime of Violence

          18 U.S.C. § 922(a)(1)(A)                                     Dealing Firearms without a License
          18 U.S.C. § 371                                              Conspiracy
             The application is based on these facts:
                   See attached Affidavit
                      Continued on the attached sheet.
           Delayed notice of            days (give exact ending date if more than 30 days:                                   ) is requested
         under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.
                                                                                                  Andrew J. Roosa
                                                                                                    Applicant’s signature

                                                                            Andrew J. Roosa, Special Agent, FBI
                                                                                                    Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

Date: ___________________
                                                                                                    Judge’s signature

City and state: Los Angeles, CA                                             Alicia G. Rosenberg, U.S. Magistrate Judge
                                                                                                    Printed name and title

AUSA: Amy E. Pomerantz (x0730)
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                            ATTACHMENT A-2

PREMISES TO BE SEARCHED


     The premises to be searched is the property located at

Kenmore Towers, 615 S Kenmore Avenue, Apt. 104, Los Angeles, CA

90005 (“SUBJECT PREMISES 2”). SUBJECT PREMISES 2 sits within a

four (4) story, multi-family residential apartment building with

approximately fifty-nine (59) units.        The complex has a dark

grey roof with red brick trim around the windows and along the

bottom of the apartment building.         The exterior walls of the

building are a light grey stucco.         Once you enter the elevator

and go from the lobby of the apartment building to the floor one

(1), directions to SUBJECT PREMISES 2 are exiting the elevator

south and walking to the right west side, then proceed to make

another right walking northbound on the first floor. Once at the

end of the hallway make a left turn walking westward on the

floor passing two units and through a doorway in the middle of

the hall, to arrive at SUBJECT PREMISES 2 which is to the right,

north side of the hall with the number “1” affixed to the door

of the unit.




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                       ATTACHMENT A-2 CONTINUED




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                              ATTACHMENT B

     ITEMS TO BE SEIZED

          The items to be seized are evidence, contraband,

fruits, or instrumentalities of violations of 18 U.S.C. §§

922(g) and 924(c) (firearms offenses), 18 U.S.C. § 922(a)(1)(A)

(dealing in firearms without a license), 18 U.S.C. § 371

(conspiracy), and 18 U.S.C. § 2 (aiding and abetting) (the

“Target Offenses”), namely:

          a.    Firearms or ammunition;

          b.    Records, documents, programs, applications and

materials, or evidence of the absence of same, sufficient to

show call log information, including all telephone numbers

dialed from any of the digital devices and all telephone numbers

accessed through any push-to-talk functions, as well as all

received or missed incoming calls;

          c.    Records, documents, programs, applications or

materials, or evidence of the absence of same, sufficient to

show SMS text, email communications or other text or written

communications sent to or received from any of the digital

devices and which relate to the above-named violations;

          d.    Records, documents, programs, applications or

materials, or evidence of the absence of same, sufficient to

show instant and social media messages (such as Facebook,

Facebook Messenger, Snapchat, FaceTime, Skype, CashApp, and

WhatsApp), SMS text, email communications, or other text or

written communications sent to or received from any digital

device and which relate to the above-named violations;

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          e.    Records, documents, programs, applications,

materials, or conversations relating to the sale or purchase of

guns or ammunition, including correspondence, receipts, records,

and documents noting prices or times when guns or ammunition

were bought, sold, or otherwise distributed;

          f.    Audio recordings, pictures, video recordings, or

still captured images related to the purchase, sale,

transportation, or distribution of guns or ammunition;

          g.    Contents of any calendar or date book;

          h.    Global Positioning System (“GPS”) coordinates and

other information or records identifying travel routes,

destinations, origination points, and other locations; and

          a.    Any digital device which is itself or which

contains evidence, contraband, fruits, or instrumentalities of

the Subject Offenses, and forensic copies thereof.

          b.    With respect to any digital device containing

evidence falling within the scope of the foregoing categories of

items to be seized:

                i.    evidence of who used, owned, or controlled

the device at the time the things described in this warrant were

created, edited, or deleted, such as logs, registry entries,

configuration files, saved usernames and passwords, documents,

browsing history, user profiles, e-mail, e-mail contacts, chat

and instant messaging logs, photographs, and correspondence;

                ii.   evidence of the presence or absence of

software that would allow others to control the device, such as

viruses, Trojan horses, and other forms of malicious software,

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as well as evidence of the presence or absence of security

software designed to detect malicious software;

                iii. evidence of the attachment of other devices;

                iv.     evidence of counter-forensic programs (and

associated data) that are designed to eliminate data from the

device;

                v.      evidence of the times the device was used;

                vi.     passwords, encryption keys, biometric keys,

and other access devices that may be necessary to access the

device;

                vii. applications, utility programs, compilers,

interpreters, or other software, as well as documentation and

manuals, that may be necessary to access the device or to

conduct a forensic examination of it;

                viii.        records of or information about

Internet Protocol addresses used by the device;

                ix.     records of or information about the device’s

Internet activity, including firewall logs, caches, browser

history and cookies, “bookmarked” or “favorite” web pages,

search terms that the user entered into any Internet search

engine, and records of user-typed web addresses.

          As used herein, the terms “records,” “documents,”

“programs,” “applications,” and “materials” include records,

documents, programs, applications, and materials created,

modified, or stored in any form, including in digital form on

any digital device and any forensic copies thereof.



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          As used herein, the term “digital device” includes any

electronic system or device capable of storing or processing

data in digital form, including central processing units;

desktop, laptop, notebook, and tablet computers; personal

digital assistants; wireless communication devices, such as

telephone paging devices, beepers, mobile telephones, and smart

phones; digital cameras; gaming consoles (including Sony

PlayStations and Microsoft Xboxes); peripheral input/output

devices, such as keyboards, printers, scanners, plotters,

monitors, and drives intended for removable media; related

communications devices, such as modems, routers, cables, and

connections; storage media, such as hard disk drives, floppy

disks, memory cards, optical disks, and magnetic tapes used to

store digital data (excluding analog tapes such as VHS); and

security devices.

          SEARCH PROCEDURE FOR DIGITAL DEVICE(S)
          In searching digital devices (or forensic copies

thereof), law enforcement personnel executing this search

warrant will employ the following procedure:

          a.    Law enforcement personnel or other individuals

assisting law enforcement personnel (the “search team”) will, in

their discretion, either search the digital device(s) on-site or

seize and transport the device(s) and/or forensic image(s)

thereof to an appropriate law enforcement laboratory or similar

facility to be searched at that location.        The search team shall

complete the search as soon as is practicable but not to exceed

120 days from the date of execution of the warrant.         The

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government will not search the digital device(s) and/or forensic

image(s) thereof beyond this 120-day period without obtaining an

extension of time order from the Court.

          b.    The search team will conduct the search only by

using search protocols specifically chosen to identify only the

specific items to be seized under this warrant.

                i.    The search team may subject all of the data

contained in each digital device capable of containing any of

the items to be seized to the search protocols to determine

whether the device and any data thereon falls within the list of

items to be seized.    The search team may also search for and

attempt to recover deleted, “hidden,” or encrypted data to

determine, pursuant to the search protocols, whether the data

falls within the list of items to be seized.

                ii.   The search team may use tools to exclude

normal operating system files and standard third-party software

that do not need to be searched.

                iii. The search team may use forensic examination

and searching tools, such as “EnCase” and “FTK” (Forensic Tool

Kit), which tools may use hashing and other sophisticated

techniques.

          c.    If the search team, while searching a digital

device, encounters immediately apparent contraband or other

evidence of a crime outside the scope of the items to be seized,

the team shall immediately discontinue its search of that device

pending further order of the Court and shall make and retain

notes detailing how the contraband or other evidence of a crime

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was encountered, including how it was immediately apparent

contraband or evidence of a crime.

          d.    If the search determines that a digital device

does not contain any data falling within the list of items to be

seized, the government will, as soon as is practicable, return

the device and delete or destroy all forensic copies thereof.

          e.    If the search determines that a digital device

does contain data falling within the list of items to be seized,

the government may make and retain copies of such data, and may

access such data at any time.

          f.    If the search determines that a digital device is

(1) itself an item to be seized and/or (2) contains data falling

within the list of other items to be seized, the government may

retain the digital device and any forensic copies of the digital

device, but may not access data falling outside the scope of the

other items to be seized (after the time for searching the

device has expired) absent further court order.

          g.    The government may also retain a digital device

if the government, prior to the end of the search period,

obtains an order from the Court authorizing retention of the

device (or while an application for such an order is pending),

including in circumstances where the government has not been

able to fully search a device because the device or files

contained therein is/are encrypted.

          h.    After the completion of the search of the digital

devices, the government shall not access digital data falling



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outside the scope of the items to be seized absent further order

of the Court.

           In order to search for data capable of being read or

interpreted by a digital device, law enforcement personnel are

authorized to seize the following items:

           a.    Any digital device capable of being used to

commit, further, or store evidence of the offense(s) listed

above;

           b.    Any equipment used to facilitate the

transmission, creation, display, encoding, or storage of digital

data;

           c.    Any magnetic, electronic, or optical storage

device capable of storing digital data;

           d.    Any documentation, operating logs, or reference

manuals regarding the operation of the digital device or

software used in the digital device;

           e.    Any applications, utility programs, compilers,

interpreters, or other software used to facilitate direct or

indirect communication with the digital device;

           f.    Any physical keys, encryption devices, dongles,

or similar physical items that are necessary to gain access to

the digital device or data stored on the digital device; and

           g.    Any passwords, password files, biometric keys,

test keys, encryption codes, or other information necessary to

access the digital device or data stored on the digital device.

           The review of the electronic data obtained pursuant to

this warrant may be conducted by any government personnel

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assisting in the investigation, who may include, in addition to

law enforcement officers and agents, attorneys for the

government, attorney support staff, and technical experts.

Pursuant to this warrant, the investigating agency may deliver a

complete copy of the seized or copied electronic data to the

custody and control of attorneys for the government and their

support staff for their independent review.

           The special procedures relating to digital devices

found in this warrant govern only the search of digital devices

pursuant to the authority conferred by this warrant and do not

apply to any search of digital devices pursuant to any other

court order.




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                                AFFIDAVIT

      I, Andrew Roosa, being duly sworn, declare and state as

follows:

                            PURPOSE OF AFFIDAVIT

             This affidavit is made in support of an application

for a warrant to search the premises of New Leaf Clothing and

Kicks, 828 S. Vermont Ave., Los Angeles, CA 90005 (“SUBJECT

PREMISES 1”), as described more fully in Attachment A-1, and the

premises of 615 S. Kenmore Ave., Apartment 104, Los Angeles, CA

90005 (“SUBJECT PREMISES 2”) (collectively, the “SUBJECT

PREMISES”), as described more fully in Attachment A-2, for

evidence, fruits and instrumentalities of violations of 18

U.S.C. §§ 922(g) and 924(c) (firearms offenses), 18 U.S.C.

§ 922(a)(1)(A) (dealing in firearms without a license), 18

U.S.C. § 371 (conspiracy), and 18 U.S.C. § 2 (aiding and

abetting) (the “Target Offenses”), as described further in

Attachment B.
             The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested warrants and does

not purport to set forth the entirety of my knowledge of the

investigation into this matter.          Unless specifically indicated

otherwise, all conversations and statements described in this

affidavit are related in substance and in part only.



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                           BACKGROUND OF AFFIANT

           I am a law enforcement officer of the United States,

within the meaning of Title 18, United States Code, Section

2510(7), and I am empowered by law to conduct investigations of,

and to make arrests for, the offenses enumerated in Title 18,

United States Code, Section 2516.        I am a Special Agent (“SA”)

of the Federal Bureau of Investigation (“FBI”) and have been so

since September 2018.     I am currently assigned to a Criminal

Enterprise Squad at the Los Angeles Field Office of the FBI,

where I am tasked with investigating violent gangs, as well as

narcotics trafficking, money laundering, and other offenses in

conjunction with the Los Angeles Metropolitan Task Force on

Violent Gangs (“LAMTFVG”), a multi-agency federal, state, and

local gang task force.      Since March 2019, I have primarily been

working on investigations targeting violent street gangs

involved in the possession with intent to distribute and

distribution of controlled substances, as well as conspiracy to

do the same, in violation of 21 U.S.C. §§ 841(a)(1), and 846,

and firearms offenses in violation of 18 U.S.C. §§ 922(g) and

924(c).

           I received basic law enforcement training at the Basic

Field Training Course at the FBI Academy in Quantico, Virginia

from September 2018 to February 2019.        This training included

segments on conducting criminal investigations, narcotics

identification, organized crime, gangs, and other law

enforcement topics.     My experience as an SA with the FBI

includes, but is not limited to, conducting physical

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surveillance, executing search and arrest warrants, working with

informants, the issuance of subpoenas, the analysis of pen

register and trap and trace records, interviewing subjects and

witnesses, consensually monitored meetings and telephone calls,

and conducting court-authorized interception of wire

communications.     I have received training in the investigation

of violations of federal law, including federal drug conspiracy

laws, and have personally participated in and assisted with

several gang investigations involving the organized distribution

of illegal narcotics.     Additionally, I have also become familiar

with the methods used by drug traffickers to avoid detection by

law enforcement, including use of cellular telephones that are

subscribed in the names of other persons, prepaid cellular

telephones, counter-surveillance techniques, coded and ambiguous

language, use of multiple vehicles without license plates, and

false identities.     I have become familiar with the methods,

language, structures, and criminal activities of street gangs

and transnational gangs operating within and outside of this

judicial district.

           Prior to becoming an SA with the FBI, I was a Staff

Operations Specialist with the FBI for approximately four years.

As a Staff Operations Specialist, I was tasked with performing

toll analysis, reporting intelligence to the United States

Intelligence Community, and building inter-agency partnerships

on targets of National Security investigations.          I was also a

member of the FBI’s Hazardous Evidence Response Team for two

years.   As a member of this team, I was tasked with collecting

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evidence for both criminal and National Security investigations

and providing hazardous materials operational support, in

collaboration with Fire and EMS Departments, on a Rapid

Detection Team during multiple events designated as National

Special Security Events.

           During the course of my career, I have personally

interviewed gang members while working on criminal enterprise

investigations.    I have experience in debriefing cooperators,

witnesses, confidential human sources (“CHSs”), and defendants

who had personal knowledge regarding organized crime, criminal

street gang activity, major narcotics trafficking organizations,

and other criminal offenses, including violent crimes.           Through

these efforts, I have become familiar with the methods used by

gang members and narcotics traffickers.        Specifically, I have

become knowledgeable about the investigative techniques that are

useful and viable in certain situations and those that are not.

I have also consulted with other investigators who have

extensive training and experience in criminal enterprise and

financial investigations.      I have executed search warrants for

organized crime, gang, and narcotics investigations, seeking

evidence of crimes committed by members of organizations, as

well as evidence of trafficking of controlled substances,

weapons violations, gang indicia, and violent crimes.

           In my current assignment with the LAMTFVG, I work with

FBI SAs and federally deputized state law enforcement officers

from the Los Angeles Police Department (“LAPD”), the Los Angeles

Sheriff’s Department (“LASD”), the California Department of

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Corrections and Rehabilitation (“CDCR”), and several other

agencies.     I am the lead case agent for the investigation

targeting the subjects of this affidavit.

                          SUMMARY OF PROBABLE CAUSE

            The FBI is investigating PHUOC KIEN HUYNH, also known

as (“aka”) “Mike” (“HUYNH”), and FIRST NAME UNKNOWN (“FNU”) LAST

NAME UKNOWN (“LNU”) for the distribution of firearms to members

and associates of the Rollin 60’s Neighborhood Crips (“Rollin

60’s”) street gang.     Beginning in or around September 2021, the

FBI used a confidential informant to purchase firearms from

HUYNH and/or FNU LNU, HUYNH’s associate.         Following the

controlled buys, the FBI obtained a GPS location warrant for

HUYNH’s cellular device.
            On September 30, 2021, the FBI conducted a controlled

purchase of a firearm from HUYNH at SUBJECT PREMISES 1.           On

November 4, 2021, the FBI conducted a controlled purchase of two

firearms from FNU LNU at SUBJECT PREMISES 2.         FNU LNU

immediately delivered the proceeds from that transaction to

HUYNH at SUBJECT PREMISES 1.

            The FBI conducted controlled purchases of firearms on

three separate occasions from FNU LNU outside of SUBJECT

PREMISES 2.     Immediately before a controlled firearms purchase

on November 10, 2021, LAMTFVG personnel saw FNU LNU exit the

apartment unit located at SUBJECT PREMISES 2, holding a white

bag with a revolver.     LAMTFVG personnel then saw FNU LNU deliver

that same bag to a confidential informant outside of SUBJECT

PREMISES 2.

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            Based on surveillance of the SUBJECT PREMISES 1 and

SUBJECT PREMISES 2, review of GPS location data, and

observations made during the controlled buys, as detailed below,

there is probable cause to believe that evidence of the Target

Offenses will be located at SUBJECT PREMISES 1 and SUBJECT

PREMISES 2.

                        STATEMENT OF PROBABLE CAUSE

            Based on my review of law enforcement reports,

conversations with other law enforcement agents, and my own

knowledge of the investigation, I am aware of the following:

      A.    Summary and Background of Investigation
            The Rollin 60’s is a criminal street gang that

operates in South Central Los Angeles and has associated cliques

throughout the United States.       The Rollin 60’s engages in

narcotics distribution, firearm sales, and other acts of

violence.     In January 2021, the FBI began using a confidential

human source (“CHS”) to assist in the investigation of Rollin

60’s members and associates.1



1
 The CHS is a paid informant who has worked with the FBI since
January 2021. The CHS is also cooperating in order to possibly
receive an early termination of probation from the Los Angeles
County Probation Department for providing information to the
FBI. Based on my training and experience, I believe that the
CHS is reliable. I believe this because the CHS has provided
information related to the Rollin 60’s narcotics and firearms
trafficking that has been independently corroborated by the
LAMTFVG through arrests, surveillance, and laboratory reports.
The CHS’s statements about the commission of the Target Offenses
by HUYNH and FNU LNU has also been corroborated through my
video/audio review of the buys that CHS did with them. The CHS
has one felony conviction for Attempted Burglary.
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           From September 2021 to November 2021, acting at the

direction of the LAMTFVG, the CHS conducted four controlled

purchases of firearms from HUYNH and FNU LNU, HUYNH’s associate.

The CHS identified HUYNH from his California Department of Motor

Vehicle (“DMV”) photograph.      Both SUBJECT PREMISES 1 and SUBECT

PREMISES 2 were used by the Targets in connection with the

controlled firearm buys.      For instance, as detailed below, on

one occasion FNU LNU left SUBJECT PREMISES 2 to deliver proceeds

of a firearms transaction to HUYNH at SUBJECT PREMISES 1.           On

three other occasions, HUYNH arranged for the CHS to purchase

firearms from FNU LNU at SUBJECT PREMISES 2. On one occasion,

HUYNH directed the CHS to purchase a firearm from him inside of

SUBJECT PREMISES 1.

      B.   Examples of Controlled Firearms Purchases Involving

           SUBJECT PREMISES 1 and SUBJECT PREMISES 2

HUYNH Directs the CHS to Purchase a Rifle at SUBJECT PREMISES 2
           On or about September 22, 2021, the CHS conducted a

controlled purchase of a rifle and ammunition from FNU LNU at

SUBJECT PREMISES 2.     I reviewed reports dated September 23, 2021

and October 4, 2021 detailing the transaction and reviewed a

copy of a video of the purchase.         Prior to the controlled

purchase, I searched the CHS for contraband, which was met with

negative results.     At approximately 2:46 p.m., at my direction,

the CHS placed a consensually monitored telephone call to (626)

476-5085 (the “5085 phone”), used by HUYNH.         I reviewed a

transcript of the call and the recorded conversation was as

follows:

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HUYNH: Yo

CHS: Aye Mike, aye I’m on my way to come pick it up.

HUYNH: Alright

CHS: Aye um to make sure I’m correct, aye make sure, it’s $1400

right? Because I’m counting my shit right now.

HUYNH: Yeah $1400. I’m going to text you the address right now.

I had to move it out of my storage. It’s at my other spot. It’s

down the street at the shop though.

CHS: Alright look. I’m 5 minutes away. So can you send it right

now please?

HUYNH: Yeah, Imma send it to you right now. What’s it called.

Um, it’s loaded ok?

CHS: Alright bet.

            Based on my training and experience, I believe HUYNH

was directing the CHS to purchase an assault rifle at SUBJECT

PREMISES 2, instead of SUBJECT PREMISES 1.         When HUYNH says “I’m

going to text you the address right now. I had to move it out of

my storage. It’s at my other spot”, I believe HUYNH was telling

the CHS that he uses SUBJECT PREMISES 2 as a secondary stash

location for his firearms, in addition to SUBJECT PREMISES 1.

            Immediately after the call, I outfitted the CHS with

an audio and video recorder, gave him/her cash funds for the

controlled purchase, and gave him/her an overhear device so that

LAMTFVG members and I could monitor the CHS’s activities.           TFO

Cliff Jones subsequently drove the CHS to SUBJECT PREMISES 2,

while the rest of the LAMTFVG and I initiated surveillance.

When TFO Jones arrived outside of SUBJECT PREMISES 2 with the

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CHS, TFO Dennis Jarrott saw FNU LNU exit the entryway for

SUBJECT PREMISES 2.     TFO Jones saw FNU LNU and the CHS greet

each other and, at approximately 3:09 p.m., saw the CHS give FNU

LNU money for the rifle.      At approximately 3:10 p.m., TFO

Jarrott saw FNU LNU return inside of the entryway to SUBJECT

PREMISES 2.

           From approximately 3:11 p.m. until 3:21 p.m., TFO

Jones drove the CHS to the debrief location.         At approximately

3:23 p.m., FBI SA Dezmond Beverly and I collected the rifle and

the ammunition from the CHS.       At approximately 3:25 p.m., I

deactivated the recording equipment.        SA Hernandez Orantes and I

then met the CHS and searched him/her for contraband, which was

met with negative results.      The CHS told us that HUYNH was a

firearms suppliers for multiple Crip gangs in Los Angeles,

including the Rollin 60’s.      The CHS told us HUYNH had called

him/her earlier that day, inquiring if he/she wanted to purchase

an assault rifle for $1,400.       Initially, HUYNH told the CHS to

purchase the rifle from his sneaker store, SUBJECT PREMISES 1,

but changed his mind and told the CHS to pick up the rifle from

one of his employees at SUBJECT PREMISES 2.         When the CHS

arrived at SUBJECT PREMISES 2, he/she called HUYNH, who told the

CHS that his employee would arrive downstairs shortly with the

rifle.   The CHS told us FNU LNU greeted him/her and gave the CHS

the rifle with one magazine of ammunition.

           Following the controlled purchase, the CHS placed a

consensually monitored telephone call to HUYNH at the 5085



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number.     I reviewed a transcript of the call and the recorded

conversation was as follows:

CHS: Hello? Aye my bad, aye you think. You think you can get

something like either today or tomorrow? Like shit

HUYNH: For sure for tomorrow. I’ll have, I’ll have… Hit me

tomorrow morning.

CHS: Tomorrow morning. Alright, because I’m lowkey in some shit

right now. That’s why I keep calling bugging. I’m calling around

and shit.

HUYNH: (Unintelligible) It’s good, I got you.

CHS: Alright, aye? So I’ll meet you at the store and if you can

get something?

HUYNH: Yep

CHS: Alright

HUYNH: My boy, he. My boy, he got um. He got one with a switch,

but he wants. It’s a Glock with a switch

CHS: Alright, what he want for that? Ah shit, I’ll grab it

HUYNH: $2500 though

CHS: He want $2500 for a Glock with a switch on it?

HUYNH: Yep

CHS: Shit, alright. Um, Shit. If that’s my last option, I’ll

either grab something from him but if you come up with something

tomorrow morning, then I’m coming straight to you. You already

know

HUYNH: Alright, bet.

             Based on my training and experience, I believe this

conversation is about firearms distribution at SUBJECT PREMISES

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1.   When HUYNH says “My boy, he got um. He got one with a

switch, but he wants. It’s a Glock with a switch”, I believe he

is telling the CHS that he can get the CHS a fully automatic

pistol.     When HUYNH says “yep” after CHS asked if he/she should

meet HUYNH at “the store”, I believe HUYNH is telling CHS that

he/she could purchase a fully automatic pistol from him at

SUBJECT PREMISES 1 the following day.

             I also reviewed a copy of the video of the

transaction, where I saw FNU LNU meet with the CHS at TFO Jones’

vehicle.     I saw FNU LNU carrying a blue IKEA bag in the video. I

also spoke to TFO Jones following the buy.          TFO Jones told me

that the assault rifle was in the blue IKEA bag that FNU LNU was

carrying.

CHS Purchases Pistol from HUYNH at SUBJECT PREMISES 1
             On or about September 30, 2021, the CHS conducted a

controlled purchase of a pistol and ammunition from HUYNH at

SUBJECT PREMISES 1.     I reviewed reports dated October 1, 2021

and October 4, 2021 detailing the transaction and reviewed a

copy of a video of the purchase.          Prior to the controlled

purchase, TFO Ricardo Cardona searched the CHS for contraband,

in my presence, which was met with negative results.          TFO

Cardona and I drove the CHS to the vicinity of SUBJECT PREMISES

1.   Prior to the CHS leaving the vehicle at approximately 12:34

p.m., I outfitted the CHS with an audio and video recorder, gave

him/her cash funds for the controlled purchase, and gave him/her

an overhear device so that LAMTFVG members and I could monitor

the CHS’s activities.     At approximately 12:36 p.m., SA Beverly,

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TFO Cardona, and I saw the CHS enter SUBJECT PREMISES 1.           At

that same time, we heard the CHS discussing firearms with HUYNH

on the overhear device.      At approximately 12:38 p.m., TFO

Cardona and I picked up the CHS and collected the pistol and

ammunition from the CHS.      I then deactivated the recording

equipment while TFO Cardona and I drove the CHS to the debrief

location.

            When we arrived to the debrief location at

approximately 12:45 p.m., TFO Cardona searched the CHS for

contraband, in my presence, which was met with negative results.

SA Beverly, TFO Cardona, and I then met the CHS.          The CHS told

us that HUYNH contacted him/her earlier that day inquiring if

he/she wanted to purchase a pistol for $1,200 at SUBJECT

PREMISES 1.    When the CHS arrived at SUBJECT PREMISES 1 later

that day, he/she knocked on the door.        The CHS told us that,

seconds later, HUYNH greeted the CHS at the door and gave

him/her a pistol with one magazine of ammunition while inside

SUBJECT PREMISES 1.     The CHS gave HUYNH $1,200 for the pistol

and ammunition.     The CHS also saw multiple other individuals

inside the store.

            Following the transaction, I reviewed a copy of the

video, where I saw HUYNH meet the CHS inside of SUBJECT PREMISES

1.   I saw HUYNH give the CHS a pistol on the video and saw the

CHS give HUYNH cash funds.

CHS Purchases Rifle and Pistol at SUBJECT PREMISES 2, FNU LNU

Delivers Proceeds of Transaction to HUYNH at SUBJECT PREMISES 1



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           On or about November 4, 2021, the CHS conducted a

controlled purchase of a rifle, pistol, and ammunition from FNU

LNU at SUBJECT PREMISES 2.      FNU LNU delivered the proceeds from

that transaction to HUYNH at SUBJECT PREMISES 1 immediately

after the transaction.      I reviewed reports dated November 5,

2021 and November 8, 2021 detailing the transaction and reviewed

a copy of a video of the purchase.        Prior to the controlled

purchase, TFO Cardona searched the CHS for contraband, in my

presence, which was met with negative results.          At approximately

12:39 p.m., at my direction, the CHS placed a consensually

monitored telephone call to the 5085 phone, used by HUYNH.           I

reviewed a transcript of the call and the recorded conversation

was as follows:

CHS: Aye. Aye Mike, my bad. Aye, I’m 5 minutes away. But I have

to ask, aye, do I need to get a duffle bag? Or a bag from the

store real quick?

HUYNH: It’s, it’s already in a duffle bag.

CHS: Alright, so you, he going to meet me downstairs right now?

HUYNH: Yep yep. When you outside, he going to run down.

CHS: Alright bet. Um, I’m 5 minutes away.

HUYNH: Alright, bet

           Based on my training and experience, I believe this

conversation is about firearms distribution.         When HUYNH says

“it’s already in the duffle bag”, I believe he is telling the

CHS that the firearms the CHS will purchase are stored in a

duffle bag.    When HUYNH then says “when you outside, he going to

run down”, I believe he is telling the CHS that FNU LNU will

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meet the CHS outside of SUBJECT PREMISES 2, instead of inside

SUBJECT PREMISES 2, with that duffle bag for the CHS.

            Immediately after the call, TFO Cardona and I drove

the CHS to the vicinity of SUBJECT PREMISES 2.          Prior to the CHS

leaving the vehicle at approximately 12:58 p.m., I outfitted the

CHS with an audio and video recorder, gave him/her cash funds

for the controlled purchase, and gave him/her an overhear device

so that LAMTFVG members and I could monitor the CHS’s

activities.    At approximately 1:00 p.m., TFO Cardona saw the CHS

arrive to SUBJECT PREMISES 2.       At approximately 1:01 p.m., TFO

Cardona and I heard, via the overhear device, the CHS place a

call to HUYNH at the 5085 number to let HUYNH know that he/she

arrived to SUBJECT PREMISES 2.       At approximately 1:02 p.m., SA

Beverly saw FNU LNU exit the entryway of SUBJECT PREMISES 2 and

give the CHS a black duffel bag in exchange for cash funds.

Following the transaction, SA Beverly and TFO Hernandez saw FNU

LNU standing next to a batter-powered scooter in the vicinity of

Kenmore Avenue and Wilshire Boulevard.        While FNU LNU was

operating the scooter, TFO Jarrott picked up the CHS at

approximately 1:07 p.m.

            While TFO Jarrott was driving the CHS to the debrief

location, TFO Cardona and I followed FNU LNU, who was riding the

scooter.    At approximately 1:08 p.m., TFO Cardona and I saw FNU

LNU riding the scooter southbound on Vermont Avenue and cross 8th

Street.    At approximately 1:11 p.m., TFO Cardona and I saw FNU

LNU stop the scooter directly in front of SUBJECT PREMISES 1.

HUYNH was standing outside of SUBJECT PREMISES 1.          When FNU LNU

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arrived, he gave HUYNH a bundle of cash funds.          HUYNH placed the

cash funds inside of a fanny pack.        FNU LNU then immediately

departed and rode the scooter northbound on Vermont Ave.

             I know from my training and experience that

individuals who engage in contraband trafficking, such as

firearms, will often maintain secondary stash houses at

locations separate from where they store their main supply.

This is especially the case when they have a legitimate

distributor or customer, such as a sneaker distributor or

customer, visiting the location where they keep their source of

supply.     Firearms traffickers do this in order to protect their

proceeds and stash in case their supply location is robbed by a

distributor or customer.      I believe HUYNH also uses FNU LNU’s

residence, SUBJECT PREMISES 2, as a secondary stash location for

firearms.     As detailed above, HUYNH maintains firearms at

SUBJECT PREMISES 1.     SUBJECT PREMISES 1 is a business frequented

by sneaker customers and resellers, as set forth in Section IV

Part C.     Here, I believe HUYNH understands he cannot reasonably

always store firearms at SUBJECT PREMISES 1.         As such, FNU LNU

is a money counter and reporting the amount of proceeds from

firearms sales that he is storing at SUBJECT PREMISES 2 for

HUYNH.

             While TFO Cardona and I were driving to meet TFO

Jarrott and the CHS at the debrief location, several other

LAMTFVG members continued surveillance of FNU LNU.          At

approximately 1:14 p.m., TFO Kevan Beard saw FNU LNU return on

the scooter to SUBJECT PREMISES 2.        From approximately 1:15 p.m.

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until 1:18 p.m., TFO Hernandez conducted surveillance of FNU LNU

inside the lobby and elevator of SUBJECT PREMISES 2.          TFO

Hernandez saw FNU LNU walk into the lobby of SUBJECT PREMISES 2

and enter the elevator.      While FNU LNU was on the elevator, TFO

Hernandez saw him press the elevator button for floor 1.            TFO

Hernandez saw FNU LNU exit the elevator at floor 1 and walk in

the direction of Apartment 104, which was later identified as an

apartment FNU LNU has access to on November 10, 2021.

             At approximately 1:16 p.m., TFO Cardona and I met the

CHS and TFO Jarrott at the debrief location.         At approximately

1:17 p.m., TFO Jarrott and I collected the rifle, pistol, and

ammunition from the CHS.      I then deactivated the recording

equipment.    At approximately 1:21 p.m., I searched the CHS for

contraband, in the presence of TFO Cardona, which was met with

negative results.     TFO Cardona and I then met the CHS.        The CHS

told us that HUYNH contacted him/her the day before inquiring if

he/she wanted to purchase more firearms and to meet him the

following day.    Following the CHS’s consensually monitored

telephone call with HUYNH, where HUYNH directed the CHS to pick

up the firearms at SUBJECT PREMISES 2, the CHS called HUYNH

again when he arrived.      The CHS recounted that HUYNH told the

CHS to wait for FNU LNU and meet him/her outside of SUBJECT

PREMISES 2.    Shortly thereafter, FNU LNU walked outside of

SUBJECT PREMISES 2 and gave the CHS a pistol for $1,000 and a

rifle for $1,400.     The CHS told us that, after the transaction,

FNU LNU walked back inside of the entryway to SUBJECT PREMISES

2, then quickly exited and found a battery-powered scooter.

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Following the transaction, I reviewed a copy of the video, where

I saw FNU LNU meet with the CHS outside of SUBJECT PREMISES 2.

HUYNH Directs CHS to Purchase a Revolver from FNU LNU at SUBJECT

PREMISES 2

             On or about November 10, 2021, the CHS conducted a

controlled purchase of a revolver from FNU LNU at SUBJECT

PREMISES 2.     I reviewed reports dated November 10, 2021

detailing the transaction and reviewed a copy of a video of the

purchase.     Prior to the controlled purchase, I searched the CHS

for contraband, in TFO Cardona’s presence, which was met with

negative results.     At approximately 12:46 p.m., at my direction,

the CHS placed a consensually monitored telephone call to the

5085 phone, used by HUYNH, which TFO Cardona and I heard.

During the call, HUYNH directed the CHS to pick up a revolver at

SUBJECT PREMISES 2 for $700.
             TFO Cardona and I drove the CHS to the vicinity of

SUBJECT PREMISES 2 approximately one hour later.          While we were

driving the CHS to SUBJECT PREMISES 2, at approximately 1:51

p.m., we saw HUYNH standing at the threshold of SUBJECT PREMISES

1.   When TFO Cardona and I arrived at SUBJECT PREMISES 2 with

the CHS minutes later, I outfitted the CHS with an audio and

video recorder, gave him/her cash funds for the controlled

purchase, and gave him/her an overhear device so that LAMTFVG

members and I could monitor the CHS’s activities.          At

approximately 2:01 p.m., TFO Cardona and I dropped off the CHS

in the vicinity of SUBJECT PREMISES 2.        At approximately 2:03

p.m., TFO Hernandez saw the CHS walk in and out of the lobby of

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SUBJECT PREMISES 2, where the CHS waited for approximately 15

minutes.

           At approximately 2:18 p.m., while the CHS was waiting

for FNU LNU, SA Beverly and TFO Jarrott saw FNU LNU exit

Apartment 104.    FNU LNU was the same individual who SA Beverly

saw give the CHS a duffel bag containing a rifle and pistol on

November 4, 2021.     FNU LNU was walking a dog and was holding a

white shopping bag.     Seconds later, SA Beverly and TFO Jarrott

saw FNU LNU get on the elevator.          At approximately 2:20 p.m.,

TFO Beard and TFO Hernandez saw FNU LNU exit the lobby of

SUBJECT PREMISES 2 and greet the CHS.          TFO Beard and TFO

Hernandez saw FNU LNU walking the same dog and give the CHS the

same white bag SA Beverly and TFO Jarrott saw outside of

Apartment 104.
           At approximately 2:25 p.m., TFO Cardona and I picked

up the CHS and collected the revolver from the CHS.          I then

deactivated the recording equipment while TFO Cardona and I

drove the CHS to the debrief location.          When TFO Cardona and I

arrived to the debrief location with the CHS, I searched the CHS

for contraband, in the presence of TFO Cardona, which was met

with negative results.      TFO Cardona and I then met the CHS.         The

CHS told us that HUYNH directed the CHS to purchase a revolver

from FNU LNU at SUBJECT PREMISES 2 for $700.          Following the

CHS’s consensually monitored telephone call with HUYNH, the CHS

went to SUBJECT PREMISES 2 and waited for FNU LNU.          After

several minutes, FNU LNU came outside the lobby of SUBJECT

PREMISES 2 and gave the CHS a white bag containing a revolver.

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The CHS told us that he/she gave FNU LNU $700 in exchange for

the revolver.

            As described above, I viewed the recordings depicting

the controlled firearm purchases on September 22, 2021,

September 30, 2021, and November 4, 2021.         Due to the November

11, 2021 federal holiday, FBI Electronic Surveillance

Technicians have not yet had an opportunity to download the

video recording of the November 10, 2021 transaction.

      C.    Investigation of SUBJECT PREMISES 1 and 2
            On October 8, 2021, the Honorable James Dabney of the

Superior Court for the State of California signed an order

authorizing disclosure of GPS location data for the cellular

device registered to HUYNH.      I reviewed data obtained from the

warrant and learned that HUYNH’s cellular device was

consistently located in the vicinity of SUBJECT PREMISES 1 at

various hours on weekdays from approximately 11:00 a.m. until

6:00 p.m.

            On October 7, 2021, TFO Hernandez and I conducted

surveillance of SUBJECT PREMISES 1 from approximately 3:07 p.m.

until 5:43 p.m.     During surveillance, I saw HUYNH walk in and

out of SUBJECT PREMISES 1 and conduct multiple sneaker sales at

the threshold of the business.

            On October 13, 2021, TFO Cardona and TFO Jarrott

conducted surveillance of SUBJECT PREMISES 1.         At approximately

10:49 a.m., TFO Cardona saw HUYNH arrive to SUBJECT PREMISES 1.

HUYNH proceeded to open the rolled-down gate and unlock SUBJECT

PREMISES 1.     At approximately 10:51 a.m., TFO Cardona saw HUYNH

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enter SUBJECT PREMISES 1.      As discussed in Section IV Part B, on

or about November 4, 2021, the LAMTFVG conducted surveillance of

SUBJECT PREMISES 1 and observed FNU LNU deliver the proceeds a

firearms transaction to HUYNH, who was conducting sneaker sales

at the threshold of SUBJECT PREMISES 1.        As discussed in Section

IV Part B, on or about November 10, 2021, TFO Cardona and I saw

HUYNH standing outside of SUBJECT PREMISES 1 prior to the

controlled firearms purchase with FNU LNU.

           As discussed above in Section IV Part B, the LAMTFVG

conducted surveillance inside and outside of the apartment

building containing SUBJECT PREMISES 2 on September 22, 2021,

November 4, 2021, and November 10, 2021.         On each of these

occasions, the LAMTFVG saw FNU LNU either exiting the apartment

building lobby or exiting his specific apartment unit.

              TRAINING AND EXPERIENCE ON FIREARMS OFFENSES

           From my training, personal experience, and the

collective experiences related to me by other law enforcement

officers who conduct who conduct firearms investigations, I am

aware of the following:

           Persons who possess, purchase, or sell firearms

generally maintain records of their firearm transactions as

items of value and usually keep them in their residence, or in

places that are readily accessible, and under their physical

control, such in their digital devices.        It has been my

experience that prohibited individuals who own firearms

illegally will keep the contact information of the individual

who is supplying firearms to prohibited individuals or other

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individuals involved in criminal activities for future purchases

or referrals.    Such information is also kept on digital devices.

           Many people also keep mementos of their firearms,

including digital photographs or recordings of themselves

possessing or using firearms on their digital devices.            These

photographs and recordings are often shared via social media,

text messages, and over text messaging applications.

           Those who illegally possess firearms often sell their

firearms and purchase firearms.       Correspondence between persons

buying and selling firearms often occurs over phone calls, e-

mail, text message, and social media message to and from

smartphones, laptops, or other digital devices.          This includes

sending photos of the firearm between the seller and the buyer,

as well as negotiation of price.          In my experience, individuals

who engage in street sales of firearms frequently use phone

calls, e-mail, and text messages to communicate with each other

regarding firearms that the sell or offer for sale.          In

addition, it is common for individuals engaging in the unlawful

sale of firearms to have photographs of firearms they or other

individuals working with them possess on their cellular phones

and other digital devices as they frequently send these photos

to each other to boast of their firearms possession and/or to

facilitate sales or transfers of firearms.

           Individuals engaged in the illegal purchase or sale of

firearms and other contraband often use multiple digital

devices.



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                TRAINING AND EXPERIENCE ON DIGITAL DEVICES2

           Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that the following electronic evidence, inter alia, is

often retrievable from digital devices:

           a.     Forensic methods may uncover electronic files or

remnants of such files months or even years after the files have

been downloaded, deleted, or viewed via the Internet.           Normally,

when a person deletes a file on a computer, the data contained

in the file does not disappear; rather, the data remain on the

hard drive until overwritten by new data, which may only occur

after a long period of time.       Similarly, files viewed on the

Internet are often automatically downloaded into a temporary

directory or cache that are only overwritten as they are

replaced with more recently downloaded or viewed content and may

also be recoverable months or years later.

           b.     Digital devices often contain electronic evidence

related to a crime, the device’s user, or the existence of

evidence in other locations, such as, how the device has been

used, what it has been used for, who has used it, and who has


      As used herein, the term “digital device” includes any
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electronic system or device capable of storing or processing
data in digital form, including central processing units;
desktop, laptop, notebook, and tablet computers; personal
digital assistants; wireless communication devices, such as
paging devices, mobile telephones, and smart phones; digital
cameras; gaming consoles; peripheral input/output devices, such
as keyboards, printers, scanners, monitors, and drives; related
communications devices, such as modems, routers, cables, and
connections; storage media; and security devices
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been responsible for creating or maintaining records, documents,

programs, applications, and materials on the device.          That

evidence is often stored in logs and other artifacts that are

not kept in places where the user stores files, and in places

where the user may be unaware of them.        For example, recoverable

data can include evidence of deleted or edited files; recently

used tasks and processes; online nicknames and passwords in the

form of configuration data stored by browser, e-mail, and chat

programs; attachment of other devices; times the device was in

use; and file creation dates and sequence.

           c.    The absence of data on a digital device may be

evidence of how the device was used, what it was used for, and

who used it.    For example, showing the absence of certain

software on a device may be necessary to rebut a claim that the

device was being controlled remotely by such software.

           d.    Digital device users can also attempt to conceal

data by using encryption, steganography, or by using misleading

filenames and extensions.      Digital devices may also contain

“booby traps” that destroy or alter data if certain procedures

are not scrupulously followed.       Law enforcement continuously

develops and acquires new methods of decryption, even for

devices or data that cannot currently be decrypted.

      Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that it is not always possible to search devices for data

during a search of the premises for a number of reasons,

including the following:

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           a.    Digital data are particularly vulnerable to

inadvertent or intentional modification or destruction.           Thus,

often a controlled environment with specially trained personnel

may be necessary to maintain the integrity of and to conduct a

complete and accurate analysis of data on digital devices, which

may take substantial time, particularly as to the categories of

electronic evidence referenced above.        Also, there are now so

many types of digital devices and programs that it is difficult

to bring to a search site all of the specialized manuals,

equipment, and personnel that may be required.

           b.    Digital devices capable of storing multiple

gigabytes are now commonplace.       As an example of the amount of

data this equates to, one gigabyte can store close to 19,000

average file size (300kb) Word documents, or 614 photos with an

average size of 1.5MB.

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                                   CONCLUSION

           For all the reasons described above, there is probable

cause to believe that the items to be seized, as described in

Attachment B, will be found in a search of SUBJECT PREMISES 1

and SUBJECT PREMISES 2, as described in Attachment A-1 and

Attachment A-2.




Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this 16th day of
November, 2021.



HONORABLE ALICIA G. ROSENBERG
UNITED STATES MAGISTRATE JUDGE




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